Case 4:15-cv-00229-ALM Document 11 Filed 09/22/15 Page 1 of 3 PageID #: 115



               IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

  DEANA BOSBYSHELL,                             §
                                                §
         Plaintiff,                             §
                                                §
  vs.                                           §                 CIVIL NO. 4:15-cv-00229
                                                §
  GENERAL INSURANCE COMPANY                     §
  OF AMERICA,                                   §
                                                §
         Defendant.                             §


                             STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

  Deana Bosbyshell (“Plaintiff”) and Defendant General Insurance Company of America

  (“Defendant”) (collectively, the “Parties”) file this Stipulation of Dismissal, and in

  support thereof would respectfully show the Court as follows:

         On August 20, 2015, Plaintiff filed her First Amended Complaint [Dkt. No. 7],

  stipulating that she is seeking no more than $30,000.00 in this matter. Thus, Plaintiff

  admits that this Court lacks subject matter jurisdiction over her claims. There is no pled

  counterclaim and the stipulation is signed by all Parties that have appeared.

         Accordingly, Plaintiff and Defendant now request that this lawsuit, including all

  claims asserted or that could have been asserted against Defendant at this time, be

  dismissed without prejudice.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that the above-

  styled and numbered case be dismissed without prejudice, with costs of Court to be taxed

  against the party incurring same.


  ______________________________________________________________________________________
  PARTIES’ STIPULAITON OF DISMISSAL                                PAGE 1
Case 4:15-cv-00229-ALM Document 11 Filed 09/22/15 Page 2 of 3 PageID #: 116




                                             Respectfully submitted,


                                             /s/ M. Forest Nelson
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                                             ATTORNEYS FOR DEFENDANT
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  ______________________________________________________________________________________
  PARTIES’ STIPULAITON OF DISMISSAL                                PAGE 2
Case 4:15-cv-00229-ALM Document 11 Filed 09/22/15 Page 3 of 3 PageID #: 117




                                  CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of the above and foregoing document
  has been served upon Plaintiff’s counsel on September 22, 2015, via the Court’s eFiling
  service and/or facsimile in accordance with the Federal Rules of Civil Procedure:


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                                               /s/ Mark D. Tillman
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  ______________________________________________________________________________________
  PARTIES’ STIPULAITON OF DISMISSAL                                PAGE 3
